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 EXHIBIT 1
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                    POLICY FLASH 2025-22


DATE:          April 11, 2025

TO:            HCAs/Procurement Directors/Contracting Officers/Grants Officers

FROM:          Director
               Office of Acquisition Management

SUBJECT:       Adjusting Department of Energy Grant Policy for Institutions of
               Higher Education (IHE)

BACKGROUND: Pursuant to 5 U.S.C. 553(a)(2), the Department of Energy
(“Department”) is updating its policy with respect to Department grants awarded to
institutions of higher education (IHEs).

Through its grant programs, the Department funds Department-sanctioned research. A
portion of the funding goes to “indirect costs”, which include both facilities and
administration costs. See 2 C.F.R. 200.414(a). “Facilities costs” comprise “depreciation
on buildings, equipment and capital improvements, and operations and maintenance
expenses,” while “administration costs” are “general administration and [other] general
expenses,” like funding for “the director’s office, accounting, [and] personnel.” Id.

While the Department is cognizant that many grant recipients use indirect cost payments
to effectuate research funded by the Department’s grant awards, these payments are not
for the Department’s direct research funding. See 89 Fed. Reg. 30046-30093. As these
funds are entrusted to the Department by the American people, the Department must
ensure it is putting them to appropriate use on grant programs. To improve efficiency
and curtail costs where appropriate, the Department seeks to better balance the financial
needs of grant recipients with the Department’s obligation to responsibly manage federal
funds.

This memorandum accordingly sets forth the Department’s updated policies, procedures,
and general decision-making criteria for establishing indirect cost rates when awarding
grants to IHEs; these policies, procedures, and criteria are intended to better balance the
Department’s dual responsibilities to grant recipients and the American people.

The Department is initially taking this action only with respect to IHEs. See 2 C.F.R.
200.414(c)(1); id. 200.1.

ESTABLISHING APPROPRIATE INDIRECT COST RATES:
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At present, the Department’s indirect cost rate for IHE grants is typically negotiated by
either “the Department of Health and Human Services (HHS) or the Department of
Defense’s Office of Naval Research (DOD), normally depending on which of the two
agencies (HHS or DOD) provide[d] more funds to the [relevant] educational institution
for the most recent three years.” 2 C.F.R. pt. 200, app. III(C)(11)(a)(1). Though the
Department generally must accept this negotiated rate, see 2 C.F.R. 200.414(c)(1), it may
deviate therefrom for “a class of Federal awards” after implementing and making
publicly available “the policies, procedures and general decision-making criteria” it will
follow when seeking and justifying deviations. Id. 200.414(c)(1), (3). A “class of
Federal awards” is defined to include “a group of Federal awards . . . to a specific type of
recipient or group of recipients,” such as grants to IHEs—the class relevant to this policy
update. Id. 200.1.

For the reasons set forth in this memorandum, hereinafter, the Department will no longer
use the negotiated indirect cost rate for grants awarded to IHEs. Instead, it is setting a
standardized 15 percent indirect cost rate for all grant awards to IHEs. This is at the high
end of the “up to 15 percent” de minimis rate permitted by government-wide regulation.
See, e.g., 2 C.F.R. 200.414(f). Consistent with this memorandum, the Department is
undertaking action to terminate all grant awards to IHEs that do not conform with this
updated policy. See 2 C.F.R. 200.340(a), (b). Recipients subject to termination will
receive separate notice and guidance.

All future Department grant awards to IHEs will default to this 15 percent indirect cost
rate. This system will better balance the Department’s twin aims of funding meaningful
research and upholding its fiduciary duties to the American people.

Additional information is forthcoming.

This flash will be available online at the following website:
http://energy.gov/management/listings/policy-flashes

For DOE questions concerning this policy flash, please email: ihe-icr-
response@hq.doe.gov
